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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. 8:23-CV-00813 GW (DFM)

Date: November 14, 2023

Title Richard Koppel v. Robert Bonta, et al.

Present: The Honorable Douglas F. McCormick, United States Magistrate Judge

Nancy Boehme

CS 11/14/2023

Deputy Clerk
Attorney(s) for Plaintiff(s):

Richard Koppel

Court Reporter

Proceedings: Motion for Preliminary Injunction [19]

Attorney(s) for Defendant(s):

Nicole Kau
Kayla Watson
Carolyn Khouzman

Court issues a tentative ruling. Case called and the parties make their
appearances. Parties argue motion. Court to issue Report and Recommendation.

CV-90 (12/02)

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Initials of Clerk: nb

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